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m THE UNITED sTATEs DIsTRIcT cOURT F"-ED BY'§%§;..D.C.

FoR THE wEsTERN DISTRICT OF TENNESSEE
wEsTERN DIvIsIoN 05 JUL 2| PH 3= 58

 

WDMWH§UMU)
CLEB’K, U.S_ E%E.'€~TH?CT COUHT

DARIUS D. L:TTLE, w m_,m ‘
WuGFHSHMNM

Plaintiff,
v.

NO. 96-2520 lVIl/P

SHELBY COUN'I`Y, TEN'NESSEE,
et al.,

Defendants.

 

ORDER DIRECTING CLERK 'I`O DISBURSE FUNDS

 

The Special Master in this caser Charles Fisher, has
submitted an invoice for fees and expenses incurred in connection
With this matter for the month of June, 2005, in the amount of
$427.40. Accordingly, the Clerk of Court is directed to send the
total sum of $427.40 to the Special Master, Charles Fisher, at

622 South Main Street, Covington, Tennessee 38019.

I’I` IS SO ORDERED THIS él DAY Of July, 2005.

@m@.M,

J’N P. MCCALLA
ITED sTATEs DISTRICT JUDGE

 

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UNIED sTATEsDIsTRIC COURT - WERNSTE DITRICT o TENNESSEE

Notice of Distribution

This notice confirms a copy of the document docketed as number 845 in
case 2:96-CV-02520 Was distributed by faX, mail, or direct printing on
July 22, 2005 to the parties listed.

 

 

Debra L. Fessenden

SHELBY COUNTY ATTORNEY'S OFFICE
160 N. Main Street

Ste. 660

1\/lemphis7 TN 38103

Financial Unit
FINANCIAL UNIT
167 N. Main St.
Room 242
1\/lemphis7 TN 38103

Murray B. Wells

HORNE GILLULY & WELLS, PLLC
81 Monroe Ave.

Ste. 400

1\/lemphis7 TN 38103

Kathleen Spruill

COUNTY ATTORNEY'S OFFICE
160 N. Main Street

Ste. 660

1\/lemphis7 TN 38103

Brian L. Kuhn

SHELBY COUNTY ATTORNEY'S OFFICE
160 N. Main Street

Ste. 660

1\/lemphis7 TN 38103

Robert L. Hutton
GLANKLER BROWN, PLLC
One Commerce Square

Suite 1700

1\/lemphis7 TN 38103

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Arthur E. Horne

HORNE GILLULY & WELLS, PLLC
81 Monroe Ave.

Ste. 400

1\/lemphis7 TN 38103

Adam F. Glankler
GLANKLER BROWN, PLLC
One Commerce Square

Suite 1700

1\/lemphis7 TN 38103

Honorable J on McCalla
US DISTRICT COURT

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